                               UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF TENNESSEE
                                      AT KNOXVILLE

      UNITED STATES OF AMERICA                          )
                                                        )
      v.                                                )               No. 3:15-CR-107
                                                        )
      GLENN M. TEGELER                                  )

                                 MEMORANDUM AND ORDER

             This criminal case is before the Court on the defendant’s pro se motion for

      compassionate release under 18 U.S.C. § 3582(c)(1)(A)(i). [Doc. 1327]. The United States

      has responded in opposition to the motion [docs. 1332, 1336] and the defendant has

      submitted a reply. [Doc. 1340]. For the reasons provided below, the motion will be denied.

                                       I.     BACKGROUND

           In April 2016, the Honorable Thomas W. Phillips sentenced the defendant to an 87-

  month term of imprisonment for his role in methamphetamine and money laundering

  conspiracies. The defendant is presently housed at FCI Morgantown with a scheduled release

  date of September 29, 2021. See Bureau of Prisons, https://www.bop.gov/inmateloc/ (last

  visited Sept. 25, 2020). The defendant now moves for immediate compassionate release due

  to the COVID-19 pandemic, high cholesterol, and an unspecified heart problem. [Doc.

  1327]. 1




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   In a request for administrative remedy addressed to the Bureau of Prisons (“BOP”), the defendant also
  mentioned obesity, high blood pressure, and pre-diabetic status. [Doc. 1340].


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                            II.    COMPASSIONATE RELEASE

         Section 3582(c)(1)(A)(i) of Title 18, United States Code, allows district courts to

  consider prisoner motions for sentence reduction upon a finding of “extraordinary and

  compelling reasons.” That statute, as amended by the First Step Act of 2018, provides in

  relevant part:

         [T]he court, upon motion of the Director of the Bureau of Prisons, or upon
         motion of the defendant after the defendant has fully exhausted all
         administrative rights to appeal a failure of the Bureau of Prisons to bring a
         motion on the defendant’s behalf or the lapse of 30 days from the receipt of
         such a request by the warden of the defendant’s facility, whichever is earlier,
         may reduce the term of imprisonment (and may impose a term of probation or
         supervised release with or without conditions that does not exceed the unserved
         portion of the original term of imprisonment), after considering the factors set
         forth in section 3553(a) to the extent that they are applicable, if it finds that—

            (i) extraordinary and compelling reasons warrant such a reduction ... and
            that such a reduction is consistent with applicable policy statements issued
            by the Sentencing Commission....

  18 U.S.C. § 3582(c)(1)(A). Prior to the First Step Act, a motion for compassionate release

  could only be brought by the BOP Director, not a defendant. See 18 U.S.C. § 3582(c)(1)(A)

  (2017). The First Step Act amended § 3582(c)(1)(A) to allow a defendant to file a motion

  for compassionate release after first asking the BOP to file such a motion on his behalf. See,

  e.g., United States v. Alam, 960 F.3d 831, 832 (6th Cir. 2020). Beyond this change, the statute

  still applies the same requirements to a defendant’s motion for compassionate release as

  previously applied to motions by the BOP Director. See, e.g., United States v. Beck, 425 F.

  Supp. 3d 573, 578-79 (M.D.N.C. 2019).

         The United States Sentencing Commission has promulgated a policy statement

  regarding compassionate release under § 3582(c), which is found at U.S.S.G. § 1B1.13 and

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  the accompanying application notes. See United States v. McGraw, No. 2:02-cr-00018-LJM-

  CMM, 2019 WL 2059488, at *3 (S.D. Ind. May 9, 2019). While that particular policy

  statement has not yet been updated to reflect that defendants (and not just the BOP) may move

  for compassionate release, courts have universally turned to U.S.S.G. § 1B1.13 to provide

  guidance on the “extraordinary and compelling reasons” that may warrant a sentence

  reduction. Id. at *2 (citations omitted). Moreover, the Court has no reason to believe that

  the identity of the movant (either the defendant or the BOP) should have any impact on the

  factors the Court should consider. See id. (concluding likewise).

        As provided in § 1B1.13, consistent with the statutory directive in § 3582(c)(1)(A)(i),

  the compassionate release analysis requires several findings. First, the Court must address

  whether “[e]xtraordinary and compelling reasons warrant the reduction” and whether the

  reduction is otherwise “consistent with this policy statement.” U.S.S.G. § 1B1.13(1)(A), (3).

  Second, the Court must determine whether a movant is “a danger to the safety of any other

  person or to the community, as provided in 18 U.S.C. § 3142(g).” U.S.S.G. § 1B1.13(2).

  Finally, the Court must consider the § 3553(a) factors, “to the extent they are applicable.”

  U.S.S.G. § 1B1.13.

      A. Exhaustion

        The defendant has previously submitted a request for compassionate release to the

  BOP, and more than 30 days have passed since that request was received by the warden.

  [Doc. 1340]. The Court thus has authority under § 3582(c)(1)(A) to address the instant

  motion. See Alam, 960 F.3d at 832.



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      B. Merits

         Regarding a movant’s threshold burden of demonstrating the existence of

  extraordinary and compelling reasons warranting compassionate release, the Application

  Notes to guideline 1B1.13 provide in material part:

          1. Extraordinary and Compelling Reasons.— ... [E]xtraordinary and
             compelling reasons exist under any of the circumstances set forth below:

          (A) Medical Condition of the Defendant.—

          (i)     The defendant is suffering from a terminal illness (i.e., a serious and
                  advanced illness with an end of life trajectory). A specific prognosis
                  of life expectancy (i.e., a probability of death within a specific time
                  period) is not required. Examples include metastatic solid-tumor
                  cancer, amyotrophic lateral sclerosis (ALS), end-stage organ disease,
                  and advanced dementia.

          (ii)    The defendant is—

                 (I)     suffering from a serious physical or medical condition,

                 (II)    suffering from a serious functional or cognitive impairment, or

                 (III)   experiencing deteriorating physical or mental health because of
                         the aging process,

          that substantially diminishes the ability of the defendant to provide self-care
          within the environment of a correctional facility and from which he or she is
          not expected to recover.

   U.S.S.G. § 1B1.13 cmt. n.1(A).

         The Court construes the defendant’s motion as relying on subsection (A)(ii)(I). As

  extraordinary and compelling reasons, the defendant cites the COVID-19 pandemic, high

  blood pressure, high cholesterol, an unspecified heart problem, and his pre-diabetic status.

       The COVID-19 pandemic cannot alone justify compassionate release. See, e.g., United

  States v. Shah, No. 16-20457, 2020 WL 1934930, at *2 (E.D. Mich. April 22, 2020)
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  (“[S]peculation as to whether COVID-19 will spread through Defendant’s detention facility

  . . . , whether Defendant will contract COVID-19, and whether he will develop serious

  complications, does not justify the extreme remedy of compassionate release.”); see also

  United States v. Raia, 954 F.3d 594, 597 (3d Cir. 2020) (“[T]he mere existence of COVID-

  19 in society and the possibility that it may spread to a particular prison alone cannot

  independently justify compassionate release[.]”). Additionally, only two inmates at the

  defendant’s prison have currently tested positive for the virus, with no fatalities and two staff

  members having recovered. See Bureau of Prisons, https://www.bop.gov/coronavirus/ (last

  visited Sept. 25, 2020). These relatively low numbers indicate that the preventative measures

  cited by the United States in its response are indeed having a positive impact.

        The defendant has not submitted any documentation to support the existence of his

  purported health problems. The United States, however, has filed six pages of BOP medical

  records. [Doc. 1336]. Those documents confirm that the defendant is obese, has high

  cholesterol (for which he is medicated), and is pre-diabetic. The medical records do not

  confirm the defendant’s claims of high blood pressure or heart problems, although the

  defendant takes one aspirin per day for unspecified chest pain.

         Obese persons are currently considered to be at increased risk of serious illness from

  COVID-19.               See      People       with      Certain       Medical       Conditions,

  https://www.cdc.gov/coronavirus/2019-ncov/need-extra-precautions/people-with-medical-

  conditions.html (last visited Sept. 25, 2020). However, the record before the Court contains

  no evidence that the defendant’s documented conditions impact his functioning at this time.

  At a July 1, 2020 appointment, he “[a]ppear[ed] well.” [Doc. 1366]. Additionally, the BOP

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  categorizes him as Care Level 1. “Care Level 1 inmates are less than 70 years of age and are

  generally healthy. They may have limited medical needs that can be easily managed by

  clinician      evaluations       every         6    to      12       months.              See

  http://www.bop.gov/resources/pdfs/care_level_classification_guide.pdf (last visited Sept.

  25, 2020). Further, as noted, COVID-19 is currently under control at the defendant’s facility.

        On the record before it, the Court concludes that the defendant’s cited medical

  conditions are not of the severity contemplated by guideline 1B1.13’s policy statement. See,

  e.g., United States v. Peaks, No. 16-20460, 2020 WL 2214231, at *2 (E.D. Mich. May 7,

  2020) (medically managed serious health conditions, paired with a generalized fear of

  COVID-19, fell short of “extraordinary and compelling reasons” justifying compassionate

  release). Therefore, the Court finds that the defendant is not presently suffering from a

  “serious physical or medical condition … that substantially diminishes the ability of the

  defendant to provide self-care within the environment of a correctional facility and from

  which he or she is not expected to recover.”

                                     III. CONCLUSION

          As provided herein, the defendant’s motion for compassionate release [doc. 1327]

   is DENIED.

                IT IS SO ORDERED.

                                                           ENTER:



                                                                  s/ Leon Jordan
                                                            United States District Judge


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